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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


   MARY PRZYTULA and BRAD BREDE, on
   behalf of themselves and all others similarly
   situated,
                                                        No. 17 Civ. 5124
                           Plaintiffs,

            v.

   BED BATH & BEYOND INC.,

                           Defendant.



                               DECLARATION OF DANNY SALAS

       I, DANNY SALAS, based on my personal knowledge of the facts stated herein, testify by

Declaration as follows:

       1.        I am over the age of 18 and am otherwise competent to testify to the matters

contained in this Declaration, and if so called, would testify to the facts below.

       2.        All of the statements in this Declaration are true and accurate to the best of my

knowledge.

       3.        The facts set forth in this Declaration are based on my own personal knowledge

and the stores in which I have experience.

       4.        I became employed by Bed Bath and Beyond Inc. (“BBB”) in 2001 as a

Department Manager. I was promoted through the ranks from Department Manager, to Assistant

Store Manager (“ASM”), to Store Manager, to District Manager, to Senior Manager, and then to

my current position of Regional Manager. I have been a Regional Manager for about a year and

10 months, and I am in charge of 45 stores across Ohio, Indiana, Wisconsin, Minnesota and



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North Dakota. They range in volume from low to very high. Throughout the years, I have also

worked at BBBs in Nebraska, Iowa and Missouri.

          5.      When I was an Assistant Store Manager, I worked in Store #771 in Omaha,

Nebraska and was responsible for managing both Department Managers1 and hourly associates.

          6.      In my previous role as an Assistant Store Manager, my responsibilities included

directing the daily activities of Department Managers and hourly associates; training and

developing associates; interviewing and hiring employees; counseling, disciplining, issuing

warnings, and assisting in terminating associates when appropriate.

          7.      During my time at BBB, I have observed many variations in the management

style of ASMs. For the most part, I have observed that the better managers use their employees

more productively. While store size can be a factor that influences an ASM’s management style,

whether an ASM is a micromanager or delegator is also influenced by what kind of training the

ASM has received from the Store Manager.

          8.      While many factors can affect an ASM’s management style, ASMs in higher

volume stores are more likely to delegate tasks to their employees by virtue of necessity.

However, one important exception is that an unmotivated ASM in a higher volume store that

employs many ASMs can more easily “hide behind” their more diligent counterparts than in a

lower volume store where there are fewer ASMs to pick up his or her slack.

          9.      The Store Manager and staffing of the store also influence how much time ASMs

spend on interviewing and hiring. An ASM often conducts the first interview of a candidate.

ASMs who recommend strong candidates tend to set themselves up with a store infrastructure

that allows the ASMs to delegate effectively.



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    The Company no longer employs Department Managers.


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       10.     Furthermore, ASMs in charge of Operations (also referred to as “Operations

Managers”) typically have more people working for them. Depending on the volume of the store,

an Operations Manager can have several Receiving associates, over 20 Cashiers, and a number

of Front-End Leads, all reporting to that Operations Manager. An ASM in charge of

Merchandising (also referred to as a “Merchandise Assistant Manager”) would typically have

fewer associates reporting to him or her within the same store. This, in turn, affects how much

time an ASM spends managing the associates under them.

       11.     Whether, and how often, an ASM serves as the Manager on Duty (“MOD”), also

known as the Leader on Duty (“LOD”), also affects an ASM’s responsibilities. Serving as the

MOD means that the person designated as MOD is the decision maker for the store, managing

service levels, safety, applicant flow and other areas.

       12.     BBB instills in each ASM a consciousness of global corporate responsibility that

encourages ASMs to think proactively and requires ASMs to manage and supervise effectively.

Sometimes, however, the Store Manager may affect the nature of the work performed by an




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ASM. For example. if an ASM is not performing the duties required of an ASM because they are

lazy or otherwise. the degree to which they are held accountable varies depending on the Store

Manager.



       I declare under penalty of perjury that the foregoing is true and correct.




Executed this   rday of        December. 2017.


                                              By:

                                                    Regional Manager
                                                    I3ed Bath and Beyond Inc.




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